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                            EXHIBIT B
Case 1:25-cv-00011-MJT         Document 44-5                             Filed 04/24/25                          Page 2 of 2 PageID #: 436




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              Rob Bonta
              10.2K posts




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      RobBonta
   @RobBonta

   Dad of 3 incredible kids. Lucky husband of "the Better Bonta:• Tel ler of Dad Jokes.
   Soccer Dad, fan & (loosely interpreted) player. CA Attorney General.

      ® Alameda, CA 0 robbonta.com El Joined August 2010
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